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UNITED STATES DISTRICT COURT

for the
Northern District of Texas
United States of America
v. )
Corey Wilson a/k/a Instagram user ) Case No. 3:23-MJ-808-BH
nisklakker214 ) FILED-USDC-NDTX-DA
) 23 NOV 17 P4304
a _ )
Defendant Sot
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) _ Corey Wilson a/k/a Instagram user “risktakker214" | ng
who is accused of an offense or violation based on the following document filed with the court:

(1 Indictment O Superseding Indictment Ol Information © Superseding Information w Complaint
O Probation Violation Petition 1 Supervised Release Violation Petition OViolation Notice (© Order of the Court

This offense is briefly described as follows:

26 U.S.C. §§ Possession of an Unregistered Firearm
5841, 5845,
and 5861(d)

City and state: _ Dallas, Texas

Printed name and title

Return

This warrant was received on (date) Wy [ZZ __, and the ve was gsrested on (date) Jogo} 23
at (city and state) _

Date: ul } 2023 \ NW

C apnem icer’s signature

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AT =

